Case 1:18-cv-00630-RRI\/|-VI\/|S Document 1-1 Filed 01/30/18 Page 1 of 5 Page|D #: 6

EXHIBIT A

 

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SUPREME COUR'I` OF THE STATE OF NEW YORK Date Index No. Purchased: Jan. 10, 2018
COUNTY OF QUEENS

X
PLACIDO RUIZ Index No.
Plaintiff,
_S_U._l\_ll\i(_)_l_`l_$
-against-
Plaintiff designates Queens County
STATE FARM FIRE AND CASUALTY COMPANY, as the place of trial.
Defendant. 'l`he basis of venue is location of the

X subject realty under CPLR 507.

 

TO THE ABOVE NAMED DEFENDANT:

YOU ARE HEREBY SUMMONED to answer the complaint in this action and to serve a copy of
your answer on the Plaintif`f’s Attomey within 20 days after the service of this summons, exclusive of the
day of service (or within 30 days after the service is complete if this summons is not personally delivered
to you within the State of New York); and in case of your failure to appear or answer, judgment will be
taken against you by default for the relief demanded in the complaint

Dated: January 10, 2018
Garden City, New York

LAW OFFICE OF MITCHELL J. WINN
Attorneys for Plaintiff PLAC DO RUIZ

 
   

Mitchell J. W'
585 Stewart Avenue, Suite 544
Garden City, NY 11530

(516) 385-6300

To: S'l`A'I`E FARM FIRE AND CASUALTY COMPANY
Defendant
100 State Farm Place
Ballaton Spa, NY 12020-8000

c/o New York Superintendent of Insurance

New York State Department of Financial Services
l Commerce Plaza

Albany, NY 12210

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SUPREME COURT OF THE S'l`A'l`E OF NEW YORK

 

COUNTY OF QUEENS
____________________________________________________________________________ X
PLAClDO RUIZ,_, index No.

Plaintiff,

VERlFlED COMPLAINT
-against-

STATE FARl\/l FIRE AND CASUALTY COMPANY,

Defendant,
____________________________________________________________________________ X

'l`he Plaintiff PLACIDO RUIZ (hereinafter “RUIZ” or "Plaiiitifi"), by his attorneys The Law
Oftice of Mitchell J. Winn, as and for his Verified Complaint to obtain a judgment against defendant
STATE FARM FIRE AND CASUALTY COMPANY (hereinafter “STATE FARl\/l” or “Defendant”),
respectfully alleges, upon information and belief, as follows:

THE PARTIES

l. At all times hereinafter mentioned, plaintiff RUIZ was and is natural person, residing at or about
103-39 lOSth Street, County of Queens, State of New York (hereinafter the "subj`ect premises").
2. At all times hereinafter mentioned, Plaintil"'l` was the owner of, and/or did have an insurable
interest in, the subject premises
3. Upon information and belief, at all times hereinafter mentioned, Defendant STATE FARl\/I was
and is an insurance company duly authorized and existing under the laws of the State of lllinois.
4. Upon information and belief, at all times hereinafter mentioned, STATE FARM was and is an
insurance carrier duly licensed and/or authorized to issue property, fire and/or homeowners insurance
policies within the State of New Yorl<.
5. On or about September 26, 2016, STATE FARM did issue to RUIZ, for good and valuable
consideration, its policy ofl~lomeowners insurancc, number 5-GC-57425 (hereinafter the “policy” ,
effective from November l6, 2016 to and including November l6, 20l 7, insuring the subject premises

and personal property of RUIZ located at or about the subject premises

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6. The policy did insure the premises against all risk of loss resulting from, e.g. fire and its effects.

AS AND FOR A FIRST CAUSE OF ACTION
BY IGPC FOR BREACH OF CONTRACT

7 . Plaintiff(s) do repeat and reallege each and every allegation set forth in paragraphs “l” through
“6,” inclusive, as if each were again set forth herein in its respective entirety.

8. On or about February l, 2017, said policy was in full force and effect

9. By reason of an occurrence on or about February 1, 2017, the Plaintiff RUIZ and/or the subject
premises did sustain damage and/or loss due to a peril covered under the policy, to wit, theft and its
effects.

10. Plaintiff RUIZ has made due demand upon STATE FARM for the payment of said loss or
damages

l 1. STATE FARM has refused, and continues to refuse, to make payment for said loss or damages
12. By reason of said failure and/or refusal, STA'I`E FARM has breached its aforesaid policy and
contracth insurance with Plaintiff RUIZ.

13. By reason of said breach of contract, Plaintiff RUIZ has been damaged in the sum of the amount
of the loss or damage to his real and personal property, in a sum thought to exceed FIVE HUNDRED
EIGHTY-FIVE THOUSAND SEVEN HUNDRED and TWO DOLLARS and TWENTY-SEVEN
CENTS ($585,702.27), plus interest thereon from the (lst) day of February, 2017.

14. WHEREFORE, Plaintiff RUIZ demands Judgment against Defendant STATE FARM

in the sum of at least FIVE HUNDRED EIGHTY-FIVE THOUSAND SEVEN HUNDRED and
TWO DOLLARS and TWENTY-SEVEN CENTS ($585,702.27) on the First Cause of Action set
forth herein, all plus interest, attorney fees, costs, and such other, different and further relief as

may be deemed by the Honorable Court to be just, proper and equitable.

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Dated: January 10, 2018
Garden City, New York

Yours, etc.,

LAW OFFICE OF MITCH L J. WINN
/°*

 

Attorneys for Plaintiff PLACIDO RUIZ

585 Stewart Avenue, Suite 544

Garden City, New York 11530

(516) 385-6300

VERIFICATION

MITCHELL J. WINN, an attorney duly admitted to practice before the Courts of the State of

New York, hereby states and affirms, under the penalties of perjury and pursuant to CPLR 2106, that
the foregoing COMPLAINT is true to the best of my knowledge, information and belief, and that the
reason that this Verification is made by me is that I do not maintain an office in the County where

MITCHELL J./WINN

Plaintiff resides.

Dated: January 10, 2018
Garden City, New York

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